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                             UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division


    IN RE: ZETIA (EZETIMIBE)
    ANTITRUST LITIGATION


                                                       Case No. 2:18-md-2836


    This Document Relates to:
    All Actions


                       OMNIBUS ORDER ON MOTIONS IN LIMINE


         In   this    multidistrict         litigation,    Plaintiffs    allege    that

   Defendants       Merck^    and     Glenmark^     (collectively       "Defendants")

    conspired to delay generic competition for the branded cholesterol

    medication Zetia by artificially prolonging its patent protection.

   On   March   22   and     23,    2023,    the   court   held   a   final   pretrial

   conference, at which twenty-one pending motions were argued.                    The

   argued motions included nineteen motions in limine, Purchasers'

   Motion     for    Live    Trial    Testimony      Via    Contemporaneous       Video

   Transmission, (EOF No. 1931), and Purchasers' Motion to Allocate

   Trial Time, (ECF No. 1983)               For the reasons stated more fully on




   ^ "Merck" consists of Merck & Co., Inc.; Merck Sharp & Dohme Corp.;
   Sobering-Plough Corp.; Sobering Corp.; and MSP Singapore Co. LLC.
   2 "Glenmark" consists of Glenmark Pharmaceuticals Limited and Glenmark
   Pharmaceuticals Inc., USA, the latter incorrectly identified as Glenmark
   Generics Inc., USA.
   ^ Only seventeen pending motions in limine were set for argument at the
   conference. However, when deciding Purchasers' Motion to Allocate Trial
   Time, (ECF No. 1983), the court heard argument and ruled on two
   additional motions in limine subsumed by that motion.
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    the record during the two-day conference, the court issues the

    following rulings:

          1)    Purchasers' Motion in Limine to Preclude Defendants from

    Challenging      the   Validity   of    Direct    Purchasers'      or      Retailers'

    Assignments, {EOF No. 1804, at 1), is GRANTED IN PART and DENIED

    IN PART.   Defendants do not seek to argue the validity of the DPPs'

    or   Retailer    Plaintiffs'      assignments     to   the    jury      or   seek   to

    challenge the assignments based on lack of consideration.                       March

    23, 2023, Hr'g Tr. 9:15-16 {EOF No. 2032).                   Therefore, no such

    argument will be presented.            But Purchasers must still introduce

    the assignments by stipulation or through witnesses to establish

    their basis to recover.


          2)   Purchasers'        Motion     for    Live   Trial       Testimony        Via

    Contemporaneous Video Transmission, (ECF No. 1931), is GRANTED IN

   PART.    In this motion. Purchasers ask the court to authorize live

    remote testimony from three key witnesses: Vijay Soni ("Soni"),

    Glenmark's    lead     negotiator   in    the    Glenmark    patent      litigation

    underlying this MDL; Timothy Hester ("Hester"), the laywer who

   drafted     the    contested    Settlement       Agreement     in     the     Glenmark

   litigation; and Paul Campanelli ("Campanelli"), the former CEO of

   Par Pharmaceuticals.        All three witnesses are located outside of


   the siibpoena power of this court as circumscribed in Federal Rule

   of Civil Procedure 45(c)(1).
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           Defendants      argue     that this    court cannot authorize             these

    witnesses to testify live during trial via remote                          technology

    because    to    do    so    would    contravene    the    court's    Rule    45(c)(1)

    subpoena power.        However, by their own account. Purchasers are not

    asking this court to compel these witnesses to testify live during

    trial.     Rather, they are merely requesting that the court allow

    the    witnesses to testify live via remote technology ^ they

    otherwise choose to testify or are compelled to do so by some other

    court.        Consequently, the court need not issue any subpoena or

    make any ruling under Federal Rule of Civil Procedure 45.                            The

    only determination before this court is whether it should allow

    these witnesses, if otherwise choosing or compelled to testify, to

    do so via remote technology -- a determination that is controlled

    by Federal Rule of Civil Procedure 43.

           Rule     43    states    that,    "[f]or     good    cause    in    compelling

    circumstances         and    with    appropriate    safeguards,      the     court   may

    permit testimony in open court by contemporaneous transmission

    from   a   different        location."     Fed.    R.   Civ.   P.   43(a).     Factors

    commonly used to evaluate whether "compelling circumstances" exist

    in a particular case are articulated in In re Vioxx Prods. Liab.


    ^ Whether Rule 45(a)(2) would allow other courts to subpoena the witnesses
    to testify in this action in the Eastern District of Virginia is a matter
    for those courts to resolve -- not this one.            See Fed. R. Civ. P. 45(a)(2)
    ("A subpoena must issue from the court where the action is pending.").
    As stated during the hearing, this court expressly declined to compel
    attendance of any witness outside the subpoena reach described in Rule
    45.
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    Litig.; 439 F. Supp. 2d 640, 643 (E.D. La. 2006).                         The factors

    include "(1) the control exerted over the witness by the defendant;

    (2)   the     complex,     multi-party,        multi-state          nature    of    the

    litigation; (3) the apparent tactical advantage, as opposed to any

    real inconvenience to the witness, that the defendant is seeking

    by not producing the witness voluntarily; (4) the lack of any true

    prejudice to the defendant; and (5) the flexibility needed to

    manage a complex multi-district litigation."                  Id.

          Here, the court finds that there are compelling circumstances

    that would justify the presentation of live testimony from the

    witnesses     described      above    by     remote    means      with    appropriate

    safeguards.        These witnesses' testimony is central to disputed

    issues in this highly complex MDL, which has been pending for over

    four years and is set for a single five-week trial.                     The jury would

    benefit     from   hearing    this    important       and   complicated      evidence

    presented     live,      rather      than     through       recorded       deposition

    designations.

          Additionally, there is the possibility of some prejudice or

    surprise to Purchasers given privilege assertions during these

    witnesses'     depositions.          Based    on   the      way   the    evidence   is

    eventually presented at trial, areas of inquiry may open which

    Purchasers were unable to fully explore with the witnesses because

    of those privilege assertions.             Allowing the witnesses to testify

    live via remote technology gives Purchasers the opportunity to
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    challenge testimony that turns out to be different from what was

    expected given the limited inquiry permitted thus far.                  As such,

    Purchases' Motion for Live Trial Testimony Via Contemporaneous

    Video Transmission, (EOF No. 1931), is GRANTED IN PART.

         3)       Defendants' Motion in Limine No. 3 to Preclude Evidence

    and Argument Regarding Litigation, Government Investigations, and

    Alleged Anticompetitive Acts Involving Defendants or any of their

    Current or Former Employees that Are Unrelated to Zetia, (ECF No.

    1822,    at   2),   is   GRANTED.       Of    the   four   categories   of   cases

    identified by Defendants as the principal targets of this motion,

    Purchasers contest the exclusion of evidence relating to only one

    — specifically, Merck's settlement in In re Nexium (Esomeprazole)

    Antitrust Litig., No. 12-md-02409 (D. Mass. Oct. 20, 2014), another

    pay-for-delay       case.       Like    this    action,     Nexium   involved   a

    complicated underlying settlement agreement that -- importantly,

    at least from Purchasers' point of view -- was also drafted by

    Hester.


         However, the court does not find that the settlement agreement

    in Nexium is sufficiently similar to the Settlement Agreement

    underlying this case to warrant its presentation to the jury at

    trial.    The Nexium agreement's definition of "authorized generic"

   -- which Purchasers' claim was imported into the alleged no-AG

    provision in the Merck-Glenmark settlement -- defines that term to

   include    any drug       sold   under   the    Nexium   New   Drug   Applications
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    ("NDAs") "but not under the trade name Nexium."               Hester Dep. 159:4—

    11   {ECF   No.    1886-2,   at   5).    By contrast,       the     alleged    no-AG

    provision    in     the   Merck-Glenmark       settlement     defines      "Generic

    Ezetimibe" to include any drug sold under Merck's NBA for Zetia

    that "is not sold under the trademark Zetia® or another trademark

    or trade name of Sobering, MSP, or their affiliates."                     Settlement

    Agreement § 1.14 (ECF No. 398-21, at 6) (emphasis added).                       This

    difference is material because it expands the drugs covered by the

    generic     drug    definition,     thereby      changing     the    definition's

    possible exclusionary effect.           Given this key difference, evidence

    of the Nexium settlement would likely only confuse the jury in

    their assessment of the Settlement Agreement underlying this case.

    This concern is especially warranted in light of other evidence

    that will be presented regarding Hester's role in drafting the

    Merck-Glenmark settlement.         As such. Defendants' Motion in Limine

    No. 3, (ECF No. 1822, at 2), is GRANTED IN PART.

          4)    Defendants'      Motion      in    Limine   No.     5    to    Preclude

    References to "Big Pharma" or Similar Pejorative Terms, (ECF No.

    1822, at 2), is GRANTED IN PART and DENIED IN PART.                       Pejorative

    descriptions of any party or lawyer have no place in the practice

    of law, and as such, a motion in limine should not be necessary to

    enforce that fundamental concept.             All parties are prohibited from

    using pejorative terms or disparaging their opponents, and to that

    extent, this motion is GRANTED.           However, the motion is DENIED to
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    the extent it seeks to exclude argument regarding pharmaceutical

    policy and the benefits of generic competition.                    That argument is

    part of the background of the case on which the jury will need to

    be educated, and allowing the jury to hear it will not prejudice

    the defense in any way.                  Additionally, as encompassed by and

    explained in the court's ruling on Purchasers' Motion in Limine

    No. 9, this motion is also DENIED to the extent it seeks to exclude

    non-pejorative references to the size and financial condition of

    the parties.

            5)        Purchasers'    Motion     in    Limine     No.   6    to     Preclude

    Defendants from Playing Affirmative Deposition Clips During the

    Purchasers' Case-in-Chief, Unless Testimony is Cross-Examination

    or Necessary for Completeness, (ECF No. 1804, at 2), is GRANTED.

    There are two related issues raised in this motion: (1) whether

    Defendants may play affirmative deposition designations in the

    Purchasers'          case-in-chief;        and    (2)    whether       the     counter-

    designations and completeness designations Defendants have offered

    thus far are so broad in scope that they are more appropriately

    characterized as affirmative designations.                   The court finds that

    basic    fairness        in     the    presentation     of   evidence        forecloses

   Defendants from playing affirmative deposition designations in the

    Purchasers' case-in-chief and that any counter- or completeness

    designation must be just that -- a counter designation within the

   scope         of    Purchasers'        offered    testimony    or   a    completeness
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    designation necessary for the jury to fairly interpret the offered

    testimony. As such, Purchasers' Motion in Limine No. 6 is GRANTED.

          6)    Purchasers' Motion in Limine No. 9 to Exclude Mention of

    Relative Size or Financial Condition of the Purchasers, (ECF No.

    1804, at 3), is GRANTED IN PART and DENIED IN PART.                  The court

    finds that evidence of the Purchasers' size and financial condition

    is relevant to the issue of purchasing power -- and specifically,

    the cost at which Purchasers could buy branded Zetia, which bears

    on   the   existence   and   extent   of   Purchasers'    alleged     damages.

    Additionally, admitting this evidence will not severely prejudice

    Purchasers, notwithstanding the fact that Purchasers plan to make

    their identity and size known to the jury upfront at trial.

    Consequently, this motion is DENIED with respect to Purchasers'

    size and financial condition.         However, the motion is GRANTED to

    the extent it also sought to exclude pejorative references based

    on size or financial condition.       The court will rely on counsel to

    not use its ruling on the admissibility of size and financial

    condition evidence as an excuse to take pejorative shots at other

    parties or lawyers.

          7)    Defendants'      Motion   in   Limine   No.    9    to    Preclude

    Plaintiffs    from     Characterizing      Themselves     as   Consumers   or

    Asserting Consumer Harm, (ECF No. 1822, at 2), is GRANTED IN PART

    and DENIED IN PART.          The driving force behind this motion is

    Defendants' concern that Purchasers will attempt to assert that

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    this   case    is   about    consumer       harm    when    there     are   no   consumer


    parties.      Purchasers are not individual consumers, nor is there a

    consumer      class   in    this       case.       Consequently,       to    the   extent

    Purchasers      intend      to       characterize     themselves       as     individual


    consumers or consumer entities, this motion is GRANTED.                          However,

    the motion is otherwise DENIED.                 The antitrust laws are intended


    to benefit consumers.                In that sense, every antitrust case --

    including      this   one        —    is   ultimately       about      consumer     harm.

    Purchasers' have a right to make general policy arguments about

    antitrust protections, and Defendants are not prejudiced by the

    simple fact of having to respond.

           8)     Defendants'        Motion    in   Limine     No.   10   to    Preclude   the

    Direct Purchaser Plaintiffs and Their Experts from Referring to

    Overcharges as Financial or Economic Injury or Harm, (EOF No. 1822,

    at 2), is DENIED.           Similar to the previous motion, the concern

    animating this motion is that the DPPs and Retailer Plaintiffs

    will attempt to argue that they were financially or monetarily

    harmed on account of the overcharges they allege to have paid.

   Defendants ask the court to preclude any such arguments to ensure

   the DPPs and Retailer Plaintiffs only characterize their injury as

   overcharges, consistent with the federal antitrust laws.                          However,

   the DPPs and Retailer Plaintiffs claim they have no intention of

   asserting that they experienced any kind of financial harm to their

   bottom line or lost money as a result of the alleged overcharges.
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    Additionally, to the extent this motion seeks to prevent Purchasers

    from characterizing the impact of those overcharges as ''damages,"

    "harm,"     or     "injury,"   it    is    DENIED.     The   terms    "injury"   and

    "damages" are used in the statute creating the cause of action

    which the Purchasers have brought.               Precluding them from calling

    their antitrust damages an "injury" is too broad a relief to grant.

    As such. Defendants' Motion in Limine No. 10, (ECF No. 1822, at

    2), is DENIED.

           9)    Purchasers' Motion in Limine No. 12 to Exclude Argument

    or Evidence That Defendants Disclosed the Settlement to the FTC


    and the FTC Took No Action, (ECF No. 1806, at 1), is GRANTED IN

    PART and DENIED IN PART.        This motion addresses two distinct pieces

    of evidence: (1) Defendants disclosure of the Settlement Agreement

    to the FTC; and (2) the lack of responsive action taken by the

    FTC.        With    respect    to    the    former,    the   motion    is   DENIED.

    Purchasers'        case   revolves   around     the   Merck-Glenmark    settlement


    agreement, which includes a requirement that the agreement must be

    disclosed to the FTC.           It would be misleading to the jury and

    unfair to Defendants to allow Purchasers to present evidence of

    that requirement but prevent Defendants from confirming to the

    jury that they complied.             However, this motion is GRANTED as to

    evidence that the FTC took no action on Defendants' disclosure.                   I


    find that, contrary to Defendants' assertions, there is not a

    significant risk that excluding the lack-of-action evidence will

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    cause   the    jury    to   infer   that    this   case    somehow    arose     from

    Defendants' disclosure to the FTC.            To the extent that risk does


    exist, I conclude that allowing the evidence poses a countervailing

    -- and more harmful -- risk that the jury could infer that the

    Settlement Agreement is lawful because the FTC knew about it, must

    have investigated, yet took no action.

          10)     Purchasers'    Motion   in    Limine   No.   13    to   Exclude    the

    Opinions    of   Securities    Analysts      Regarding     the   Merits   of    the

    Glenmark Patent Litigation, (ECF No. 1806, at 1), is GRANTED.                   The

    subjects of this motion are financial analysts' reports opining on

    the strength of Merck's position in the Glenmark litigation.                    They

    were prepared as guidance for valuing the company's stock and

    without access to the complete record of the litigation.                   I find

    that these reports, authored by various non-lawyers, are replete

    with double hearsay and do not fit within any hearsay exception.

    I also conclude that the reports constitute undisclosed expert

    opinion and are minimally useful for impeaching Purchasers' patent

    merits expert,        Robert Hrubiec,      Ph.D., J.D.      ("Hrubiec").        The

    reports' de minimis impeachment value is especially pronounced in

    light of other extensive evidence in the record that can be used

    for that purpose -- and the fact that Hrubiec's opinion is based

    on the complete case record from the Glenmark litigation, whereas

    these reports are based on other, more limited information.                     For




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    these reasons, Purchasers' Motion in Limine No. 13, (ECF No. 1806,

    at 1), is GRANTED.

          11)   Defendants' Motion in Limine No. 13 to Exclude Evidence

    and Argument Relating to Their Invocation of the Attorney-Client

    Privilege and Work-Product Doctrine, (ECF No. 1832), is GRANTED IN

    PART and DENIED IN PART.     In this motion. Defendants ask the court

    to prevent Purchasers from (1) asking questions in front of the

    jury that they reasonably expect will lead to the invocation of

    privilege; (2) informing the jury of past invocations of privilege;

    and (3) introducing into evidence and questioning witnesses about

    privilege logs which describe privileged documents.

          As to the first and second issues, the motion is GRANTED to

    the extent it seeks to preclude Purchasers from asking questions

    with the intention of causing Defendants to invoke privilege in

    front of the jury, or asking questions to elicit the fact that

    privilege was previously invoked.        Purchasers claim that they do

    not intend to ask such questions and do not dispute that such

    questions would be overly prejudicial to Defendants.        However, the

    motion is DENIED on these two issues to the extent it seeks to


    preclude Purchasers from asking any question that results in an

    invocation of privilege.       There are simply too many ways that

    privilege   could   become a relevant issue at trial         --   or that

    Purchasers could unintentionally ask a question that results in an

    invocation of privilege -- for the court to deem, in advance, any

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    question resulting in the invocation of privilege improper.                       This

    is particularly so given the many privilege assertions surrounding

    the crucial and highly disputed evidence of Merck's views about

    the pending Mylan litigation, and the strength of its ezetimibe

    patent, at the time of its settlement with Glenmark.

           As to the third issue, the motion is GRANTED to the extent

    that    Purchasers        seek   to   use      the    privilege   logs'       document

    descriptors      as   a    possible      basis       for   impeaching    Defendants'

    witnesses.      The descriptors were not written by the individuals

    whose communications are at issue in the privilege log documents

    and who Defendants might present at trial -- they were written by

    attorneys litigating this case who reviewed those documents as

    part of the discovery process.                 As such, the descriptors have

    minimal value for impeaching witnesses.                    However, the motion is

    DENIED to the extent that the fact or timing of a communication is

    at   issue.     These      facts   can   be    ascertained     from     the   document


    descriptors without contravening the privilege or misleading the

    jury about what was communicated.

           12)    Purchasers' Motion in Limine No. 14 to Exclude Evidence

    or Argument That the Reverse Payment is Not Large in Relation to

    Merck's Sales or Profits or Under Actavis, (ECF No. 1806, at 2),

    is DENIED.     At issue in this motion are the benchmarks the parties

    may use to argue or contest that the alleged reverse payment in

    the Settlement Agreement is large.                   Citing FTC v. Actavis, 570

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    U.S. 136 (2013), Purchasers suggest that large should be measured

    in relation to avoided litigation costs.           However, as Defendants

    correctly point out. Purchasers misread Actavis to say that avoided

    litigation costs (along with the value of services provided by the

    generic manufacturer) are the only benchmarks for assessing the

    size of the payment.         To the contrary. Actavis merely held that

    avoided    litigation    costs are   one possible     benchmark for that

    determination at the motion to dismiss stage -- which this action

    passed long ago.        Nothing in Actavis suggests that an avoided

    litigation costs benchmark alone would be sufficient to establish

    liability at trial for Purchasers' Clayton Act claims.

          Just as      importantly.   Purchasers'    argument    puts       the   "cart

    before the horse."       See Order Re Trial Structure & Mots. Limine


    ("HIV Order"), In re HIV Antitrust Litig., 19-cv-02573-EMC (N.D.

    Cal. Mar. 19, 2023) (EOF No. 2005-1, at 12-14).                  Purchasers are

    effectively claiming "that it would not be proper (or fair) for

    [Defendants] to say that a payment might seem large on its face

    but, in fact, is not that large, or is a fair payment, given the

    [monopoly]    profits that [Defendants were]         making from the FTC

    patents."     Id. at 13.     But as United States District Judge Edward

    M. Chen aptly noted when recently confronted with a similar motion

    in   limine   in   another   antitrust    case   pending    in    the    Northern

    District      of    California,    "that    essentially          assumes      that

    [Defendants'] monopoly profits were not based on a lawful monopoly

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    arising from the patent but rather based on an unlawful monopoly

    because the patent is either invalid or not infringed."                               Id. at

    13-14.       Before Purchasers can attempt to prove that the alleged

    payment was large, they must first prove to the jury that there

    was a payment at all -- and they cannot make that presumption

    themselves.         I follow and agree with the reasoning outlined in

    Judge Chen's order, and therefore Purchasers' Motion in Limine No.

    14, (EOF No. 1806, at 2), is DENIED.

           13)    Defendants'         Motion    in    Limine      No.    14    to    Preclude

    References to Other Potential Settlement Terms Glenmark Proposed

    as Being Part of the Claimed "Large and Unjustified Payment," (ECF

    No. 1834), is DENIED.             In this motion. Defendants seek to exclude

    evidence      of    other    settlement      terms      and   proposals         that    were

    discussed       during      settlement       negotiations           in    the    Glenmark

    litigation,        but     ultimately      were   not    included         in    the    final

    Settlement Agreement.             However, I find that this evidence bears on

    Merck and Glenmark's intent in forming the agreement that was

    eventually       reached     --    and   particularly,        whether      Glenmark      was

    demanding consideration from Merck to drop its patent challenge.

    Put another way, these terms are relevant to show that Glenmark

    had     an      expectation        during     settlement        negotiations            that

    consideration would flow from Merck to Glenmark -- a fact which,

    if    proven,      would   bolster Purchasers'          argument that           the final

    Settlement       Agreement     did    contain     consideration          from    Merck   to

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    Glenmark     in     the   form    of    a      no-AG    agreement/      and   therefore

    constituted a reverse payment.                   As such. Defendants' Motion in

    Limine No. 14/ (ECF No. 1834)/ is DENIED.

          14)    The court will take Purchasers' Motion in Limine No. 15

    to Exclude Defendants' Claimed Procompetitive Justifications That

    Are Contrary to LaW/ (ECF No. 1806/ at 2) / under advisement and

    issue a separate/ written order ruling on that motion in greater

    detail.


          15)    Defendants'         Motion     in    Limine    No.    15    to     Preclude

    Plaintiffs from Presenting Evidence or Argument in Support of Their

    Abandoned Causation Theories or Presenting Evidence or Argument

    That the Anticompetitive Harm of the Settlement Was that Merck

    Avoided the Risk of Patent Invalidation by Obtaining Dismissal of

    Glenmark's Invalidity Challenge in the Settlement/ (ECF No. 1837)/

    is GRANTED IN PART and DENIED IN PART.                  This motion addresses two


    components.       The first is whether Purchasers can offer evidence or

    argument     in support of         theories of         causation     they previously

    advanced/     but    have   since      dropped     in    favor    of    their    single/

    alternative settlement theory.                 As to the abandoned theories and

    evidence offered for the purpose of supporting those theories/ the

    motion is GRANTED.          Purchasers have admittedly abandoned and do

    not intend to raise their former theories of causation/ which this

    court has already addressed in its decision on the undersigned's

    Report      and   Recommendation          on     summary    judgment.           However/

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    notwithstanding this ruling, the motion is DENIED to the extent it

    seeks to preclude the evidence underlying Purchasers' abandoned

    theories of causation from being used for any purpose at trial.

    Although that underlying evidence may not be used to advance the

    abandoned theories, it may, if relevant and admissible, be used to

    advance     other   arguments,   including   the   Purchasers'   theory   of

    liability,    the alternative settlement model of causation, and

    damages.

          The remaining portion of the motion asks the court to prevent

    Purchasers from presenting evidence or argument that Glenmark and

    Merck settled the Glenmark litigation to avoid the risk that they

    would lose at trial -- and on this issue, the motion is DENIED.

    The reason parties settle cases is to avoid the risk of losing and

    that is what the Settlement Agreement in this case accomplished.

    The question is       whether that agreement contained a large and

    unjustified reverse payment in violation of the antitrust laws.

    In arguing that question to the jury. Purchasers are entitled to

    discuss the traditional motivations for -- and consequences of --

    settlement, which were present in this case just like any other.

          16)    Purchasers' Motion in Limine No. 16 to Preclude Evidence

    or Argument That Authorized Generics Are Anticompetitive or That

    the Threat of Anti-AG Legislation Diminished the Value of the AGs

    or of No-AG Agreements, (ECF No. 1806, at 2), is DENIED.          I do not

    find there is a sufficient basis to preclude any inquiry regarding

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    the   existence    of    this   legislation   or    the   alleged        underlying

    controversy at the time of the settlement over whether AGs were

    anticompetitive.        This is especially so given that experts in this

    case were aware of and relied on the existence of this controversy

    when forming their opinions.          It is presently unclear what the

    experts will say on this issue at trial, but given that this

    controversy was evidently generally known and understood among

    people in the pharmaceutical industry in 2010, I am not prepared

    to rule that that any such testimony the experts might offer would

    necessarily be, as Purchasers' suggest, subjective and informed by

    attorney-client privileged material.           As such. Purchasers' Motion

    in Limine No. 16, (ECF No. 1806, at 2), is DENIED.

          17)   Defendants'      Motion   in   Limine     No.     16    to     Preclude

    Plaintiffs    from      Offering   Extrinsic       Evidence    to        Modify    or

    Contradict the Unambiguous Settlement Agreement, (ECF No. 1839),

    is DENIED.    The first component of this motion asked the court to

    exclude extrinsic evidence of the settlement agreement because the

    agreement is unambiguous.          That portion of the motion has been

    resolved in Purchasers' favor by this court's ruling on summary

    judgement, for the reasons explained more thoroughly therein.                     The

    only live    issue   remaining in this motion is              whether post-hoc

    statements made by persons not involved in drafting the Settlement

    Agreement    --   specifically.    Defendants'      business       and    marketing

    employees -- can be introduced to show the existence of the alleged

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    no-AG provision.     On this issue, I find that evidence of Merck and

    Glenmark's intent in negotiating the Settlement Agreement does not

    need to be limited to contemporaneous descriptions of the document

    itself.     Companies must understand their contractual obligations

    and convey them to their employees, who are also bound by those

    obligations    and   are    often    the    ones   tasked    with   facilitating

    compliance.    To that extent, evidence from Defendants' employees

    about their understanding of the Settlement Agreement and any

    alleged no-AG agreement are relevant to show what the agreement

    was intended to mean.       On that basis. Defendants' Motion in Limine

    No. 16, (EOF No. 1839), is DENIED.

          18)   Purchasers'      Motion    in    Limine   No.     17    to    Preclude

    Defendants from Disparaging the Use of a Hypothetical to Address

    Antitrust Causation, (ECF No. 1815, at 1), is GRANTED IN PART and

    DENIED IN PART.      In antitrust cases, it is necessary to use a

    hypothetical, but-for world to prove causation because the very

    existence     of   the     alleged    anticompetitive        conduct      prevents

    antitrust plaintiffs from knowing what would have happened in a

    world without that conduct.           Given that Purchasers' must make a


    hypothetical argument on causation, I do not find it fair to allow

    Defendants to characterize Purchasers' hypothetical as — in the

    words of defense counsel at the March 22, 2022, hearing -- "made

    up" or "imaginary."          However, there is a distinction between

    attacking    the   inherently    hypothetical       nature    of    the   argument

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    Purchasers' must make and attacking the assumptions underlying

    that argument.    The former is not permissible, and to that extent,

    this motion is GRANTED.       The latter is pemissible, and to that

    extent, this motion is DENIED.       Defendants have a right to point

    out   assumptions   underlying   Purchasers'      hypothetical     that   they

    believe to be flawed, but they may not disparage the inherently

    speculative nature of the hypothetical itself.

          19)   Defendants'    Motion   in   Limine    No.   17   to    Preclude

    Plaintiffs from Offering Evidence or Argument Regarding Unpleaded,

    Other Agreements, (EOF No. 1842), is DENIED.             In this motion.

    Defendants ask the court to prevent Purchasers from producing

    evidence or arguing that, notwithstanding the jury's determination

    about the Settlement Agreement -- the only agreement pled in the

    Purchasers' original complaint -- another, unpled agreement was

    reached that would entitle them to relief.           However, Defendants

    have failed to point to any such unpled agreement or articulated

    any basis for their concern that Purchasers' may introduce such an

    agreement at trial.    As such, the court declines to tie Purchasers'

    hands in proving or arguing that the pled Settlement Agreement is

    anticompetitive and Defendants' Motion in Limine No. 17, (ECF No.

    1842), is DENIED.

          20)   Purchasers' Motion in Limine No. 18 to Preclude Argument

    that the Purchasers Have the Burden to Prove the Teva and Sandoz


    Settlement Agreements Would (Still) Contain Acceleration Clauses

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    Absent the Challenged Conduct and That the Agreements Would Not

    Have   Included     Acceleration       Clauses,     (ECF    No,    1815,    at   1),    is

    DENIED.     In this motion. Purchasers ask the court to prevent

    Defendants from arguing that acceleration clauses in the Teva and

    Sandoz settlement agreements would also be present in the but-for

    world under their alternative settlement theory.                   Both agreements,

    like the Merck-Glenmark settlement, contained acceleration clauses

    that would allow the generic manufacturer to enter the market

    earlier    than the       negotiated     entry date       upon    the   happening of

    certain triggering events — specifically, successful challenges

    to the brand manufacturer's patent.

           Purchasers      have    evidence        of   the     existence       of    these


    acceleration    clauses       in   the   actual     world    and    the    reason      why

    Defendants included them in the various settlement agreements.

    Their experts are also prepared to testify that such clauses are

    ''standard practice" in brand-generic settlement agreements.                      Pis.
                                                                                         '

    Mem. Supp.     Mots.      Limine   Nos. 17 & 18 (ECF No.                1816, at 8).

    Defendants acknowledge this evidence may be sufficient to satisfy

    Plaintiffs burden that these clauses would also be present in the

    but-for world.      But they argue this is still an insufficient basis

    to preclude other evidence or argument on the issue.                         I agree.

    For this reason. Purchasers' Motion in Limine No. 18, (ECF No.

    1815, at 1), is DENIED.        Defendants are not precluded from offering

    evidence    that    the    agreements      would    not     include       acceleration

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    clauses.    Absent such evidence at trial. Purchasers may renew their

    request that argument on the topic be precluded, or address the

    issue through appropriate instructions and counter-argument.

          21)    Purchasers'   Motion   to    Allocate   Trial   Time,   (ECF   No.

    1983), is GRANTED.      In this motion. Purchasers ask the court to

    allocate the trial time unevenly between the parties and propose

    a 60%/40% split, with Purchasers getting 60% of the trial time and

    Defendants getting 40%.      Given the fact that Purchasers bear the

    burden of proof on their claims -- and that they will have to give

    the jury a lengthy and complex education on patents, pharmaceutical

    competition,    and   antitrust laws      to support those     claims    --   I

    conclude    that there is a basis in fairness to allow Purchasers


    more time to present their case at trial than Defendants.                   And

    while concerns about being given inadequate time to present ones'

    case can be dealt with at trial, I find that Purchasers' pre-trial

    request for unequal time is reasonable and will allow the parties

    to better plan for trial given the extensive evidence, expert

    testimony,    and scheduling concerns in this          case.     An unequal

    allocation is also warranted by the sheer number of Purchasers in

    the case as compared to the two Defendants.             For those reasons.

    Purchasers'    Motion to Allocate        Trial Time, (ECF No.        1983), is

    GRANTED.    The court finds that allocating 57% of the trial time to

    Purchasers and 43% to Defendants will ensure each side has a full


    opportunity to present their case to the jury.

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          IT IS SO ORDERED




                                          Dougiss E. Mi!i0r{^VX^
                                          United States Wagistrate Judge
                                      DOUGLAS E. MILLER,
                                      UNITED STATES MAGISTRATE JUDGE


    Norfolk, Virginia

    April 5, 2023




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